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6                IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,         )       No. CR-F-01-5421 REC
                                       )
10                                     )       ORDER APPOINTING DANIEL
                                       )       BACON AS COUNSEL FOR
11                    Plaintiff,       )       DEFENDANT NUNC PRO TUNC TO
                                       )       JULY 14, 2005
12              vs.                    )
                                       )
13                                     )
     CARLOS NIETO,                     )
14                                     )
                                       )
15                    Defendant.       )
                                       )
16                                     )

17        The court hereby appoints Daniel Bacon as counsel for

18   defendant nunc pro tunc to the date the Ninth Circuit's mandate

19   was issued on July 14, 2005.

20        IT IS SO ORDERED.

21   Dated:   December 12, 2005                    /s/ Robert E. Coyle
     668554                                    UNITED STATES DISTRICT JUDGE
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